             EXHIBIT “A”




Case 2:14-bk-01152-EPB   Doc 39-1 Filed 01/28/16 Entered 01/28/16 11:19:10   Desc
                              Exhibit A Page 1 of 7
                                          LANE & NACH, P.C.
                                           2001 E. Campbell Avenue
                                                   Suite 103
                                             PHOENIX, AZ 85016
                                           Telephone: (602) 258-6000
                                           Facsimile (602) 258-6003

                                                                                     TAX I.D. #XX-XXXXXXX

       DAVID BIRDSELL, TRUSTEE
                                                                       Statement Date:   January 28, 2016
                                                                         Statement No.             48797
                                                                           Account No.          2005.409
                                                                                                  Page: 1

       RE: HARDISON, LINDSEY




                                                     Fees

                                                                              Rate        Hours
04/08/2014
        DLA       REVIEW FILE FOR CONFLICTS; PREPARATION OF
                  APPLICATION TO EMPLOY ATTORNEY FOR TRUSTEE,
                  ATTORNEY DISINTERESTEDNESS DECLARATION AND
                  FORM OF ORDER; ELECTRONIC COURT FILING.                    70.00         1.50             105.00
       ABN        REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                  REGARDING NEW CASE.                                       315.00         0.30              94.50
       ABN        REVIEW DRAFT OF APPLICATION TO EMPLOY AND
                  ORDER; ATTENTION TO SAME.                                 315.00         0.30              94.50

04/18/2014
        PH        PRELIMINARY REVIEW OF DEBTOR DOCUMENTS                    225.00         0.30              67.50

04/29/2014
        TT        REVIEW EMAIL REGARDING 2004 EXAMINATION;
                  PREPARE APPLICATION FOR EXAMINATION WITH
                  EXHIBIT; PREPARE ORDER REGARDING SAME; DRAFT
                  NOTICE OF SAME.                                           110.00         0.65              71.50
       TT         FINALIZE 2004 EXAMINATION APPLICATION WITH
                  EXHIBIT AND FILE WITH THE COURT; NOTICE AND
                  LODGE ORDER REGARDING SAME.                               110.00         0.30              33.00
       PH         DRAFTED EXHIBIT A TO RULE 2004 APPLICATION                225.00         0.40              90.00

05/06/2014
        TT        CHECK COURT DOCKET REGARDING APPLICATION
                  FOR 2004 EXAMINATION; SEND EMAIL AND CALL
                  REGARDING SAME ON ORDER AND WHETHER A NEW
                  ORDER NEEDS TO BE LODGED.                                 110.00         0.25              27.50

05/07/2014
        PH        TELEPHONE CALL - RECEIVED TELEPHONE CALL
                  FROM DEBTOR'S COUNSEL REGARDING SHORT SALE
                  OF REAL PROPERTY                                          225.00         0.30              67.50




             Case 2:14-bk-01152-EPB   Doc 39-1 Filed 01/28/16 Entered 01/28/16 11:19:10           Desc
                                           Exhibit A Page 2 of 7
                                                                                                            Page: 2
       DAVID BIRDSELL, TRUSTEE                                                                           01/28/2016
                                                                                    Account No:           2005-409
                                                                                  Statement No:              48797
       HARDISON, LINDSEY




                                                                          Rate           Hours

05/08/2014
        TT        RECEIVE COURT SIGNED ORDER APPROVING 2004
                  EXAMINATION; REVIEW CALENDAR AND PREPARE
                  NOTICE OF EXAMINATION AND CERTIFICATE OF
                  SERVICE; FILE WITH THE COURT AND SERVE SAME.           110.00            0.50              55.00
       PH         TELEPHONE CALL - RECEIVED TELEPHONE CALL
                  FROM DEBTOR'S COUNSEL; DISCUSSED RULE 2004
                  APPLICATION AND SALE OF REAL PROPERTY                  225.00            0.30              67.50

06/17/2014
        PH        ATTENTION TO STATUS OF DEBTOR DOCUMENT
                  PRODUCTION                                             225.00            0.20              45.00

06/18/2014
        PH        TELEPHONE CALL - LEFT VOICE MESSAGE FOR
                  DEBTOR'S COUNSEL REGARDING STATUS OF
                  DOCUMENT PRODUCTION AND UPCOMING RULE 2004
                  EXAM                                                   225.00            0.20              45.00

09/22/2014
        PH        PRELIMINARY REVIEW OF DOCUMENTS FROM
                  DEBTOR'S EX-SPOUSE                                     225.00            0.40              90.00

10/09/2014
        PH        TELEPHONE CALL FROM CREDITOR - DISCUSSED
                  SHORT SALE STATUS                                      225.00            0.30              67.50
       PH         REVIEWED EMAIL FROM CREDITOR WITH SALE
                  DOCUMENTATION                                          225.00            0.40              90.00

11/21/2014
        JCS       REVIEW AND ANALYZE MOTION TO COMPEL
                  ABANDONMENT                                            195.00            0.20              39.00

11/29/2014
        PH        REVIEWED/RESPONDED TO EMAIL REGARDING
                  MOTION TO COMPEL ABANDONMENT                           225.00            0.20              45.00

12/24/2014
        PH        REVIEWED ORDER APPROVING MOTION TO COMPEL
                  ABANDONMENT OF HOMESTEAD                               225.00            0.20              45.00

12/29/2014
        PH        REVIEWED ADDITIONAL INFORMATION FROM DEBTOR            225.00            0.30              67.50
        PH        ATTENTION TO SCHEDULING OF CONTINUED RULE
                  2004 EXAM                                              225.00            0.20              45.00

12/30/2014
        DLA       DRAFTED A CONTINUED 2004 EXAMINATION;
                  ELECTRONICALLY FILED WITH COURT; ELECTRONIC
                  NOTIFICATIONS; CALENDARED DATES                         70.00            0.50              35.00

             Case 2:14-bk-01152-EPB   Doc 39-1 Filed 01/28/16 Entered 01/28/16 11:19:10           Desc
                                           Exhibit A Page 3 of 7
                                                                                                           Page: 3
       DAVID BIRDSELL, TRUSTEE                                                                          01/28/2016
                                                                                         Account No:     2005-409
                                                                                       Statement No:        48797
       HARDISON, LINDSEY




                                                                                Rate          Hours

01/22/2015
        PH          REVIEWED EMAIL FROM DEBTOR'S COUNSEL WITH
                    COPY OF 2004 DOCUMENTS ATTACHED                           225.00            0.20        45.00

02/04/2015
        TT          REVIEW CALENDAR FOR CONTINUED 2004
                    EXAMINATION DATE; SEND EMAILS (2) TO DEBTOR'S
                    COUNSEL WITH NEW DATE AND CALENDAR SAME;
                    LEAVE TELEPHONE MESSAGE WITH
                    PARALEGAL.REGARDING EXAM.; RECEIVE CALL.                  110.00            0.35        38.50

02/11/2015
        PH          DOCUMENT REVIEW IN PREPARATION FOR RULE 2004
                    EXAMINATION                                               225.00            1.00       225.00

02/12/2015
        TT          TELEPHONE CALL FROM AND CONFERENCE WITH
                    PARALEGAL AT DEBTOR'S ATTORNEY'S OFFICE;
                    DISCUSS 2004 EXAMINATION SCHEDULED FOR TODAY
                    AND SEND EMAIL REGARDING SAME.                            110.00            0.20        22.00
       PH           CONDUCTED RULE 2004 EXAMINATION OF DEBTOR                 225.00            1.20       270.00
       PH           DISCUSSED CASE ISSUES WITH DEBTOR'S COUNSEL;
                    DRAFTED POST-2004 MEMORANDUM FOR FILE
                    IDENTIFYING CASE ISSUES                                   225.00            0.60       135.00

02/18/2015
        PH          CORRESPONDENCE WITH TRUSTEE REGARDING
                    STATUS OF CASE; REVIEWED ADDITIONAL
                    DOCUMENTATION FROM TRUSTEE                                225.00            0.40        90.00
       PH           REVIEWED/SAVED DEBTOR'S 2014 TAX RETURNS                  225.00            0.20        45.00

03/06/2015
        PH          REVIEWED/RESPONDED TO TRUSTEE EMAIL
                    REGARDING TAX REFUNDS                                     225.00            0.20        45.00

03/24/2015
        JCS         DRAFT EMAIL TO DEBTOR ATTORNEY REGARDING
                    STATUS OF 2013 TAX REFUNDS                                195.00            0.20        39.00

03/25/2015
        JCS         EMAIL CORRESPONDENCE WITH DEBTOR ATTORNEY
                    REGARDING STATUS OF 2013 TAX REFUND                       195.00            0.20        39.00

04/06/2015
        JCS         EMAIL CORRESPONDENCE WITH DEBTOR ATTORNEY
                    REGARDING STATUS OF 2013 TAX REFUNDS                      195.00            0.20        39.00

04/30/2015
        JCS          DRAFT EMAIL TO DEBTOR ATTORNEY REGARDING
                     2013 TAX REFUND                                          195.00            0.20        39.00
       JCS           DRAFT MOTION TO COMPEL TURNOVER OF 2013 TAX
             Case    REFUNDS
                    2:14-bk-01152-EPB   Doc 39-1 Filed 01/28/16               195.00 11:19:10
                                                                    Entered 01/28/16        0.80 Desc      156.00
                                             Exhibit A   Page 4 of 7
                                                                                                       Page: 4
       DAVID BIRDSELL, TRUSTEE                                                                      01/28/2016
                                                                                     Account No:     2005-409
                                                                                   Statement No:        48797
       HARDISON, LINDSEY




                                                                            Rate          Hours

06/15/2015
        JCS     REVIEW AND REVISE MOTION TO COMPEL TURNOVER               195.00            0.30        58.50
        PH      REVIEWED/EDITED MOTION TO COMPEL TURNOVER
                (2013 FEDERAL TAX REFUND)                                 260.00            0.20        52.00

06/30/2015
        JCS     REVIEW AND ANALYZE FILE; UPDATE CASE STATUS
                REPORT                                                    195.00            0.20        39.00

08/12/2015
        JCS     REVISE TURNOVER MOTION; CALCULATE ESTATE'S
                PORTION OF 2014 TAX REFUNDS TO INCLUDE IN
                TURNOVER MOTION                                           195.00            0.60       117.00
       JCS      REVIEW CASE FILE AND UPDATE CASE STATUS
                REPORT                                                    195.00            0.20        39.00

08/14/2015
        SA      REVIEW AND REVISE TRUSTEE'S MOTION TO COMPEL
                DEBTOR TO TURNOVER ESTATE PROPERTY; ONLINE
                WITH THE COURT TO CONFIRM ADDRESS OF DEBTOR;
                PREPARATION OF NOTICE OF TRUSTEE'S MOTION TO
                COMPEL TURNOVER.                                           70.00            0.40        28.00
       JCS      REVIEW AND SIGN MOTION TO COMPEL TURNOVER
                OF TAX REFUNDS                                            195.00            0.20        39.00
       SA       FINALIZE TRUSTEE'S MOTION TO COMPEL DEBTOR TO
                TURNOVER ESTATE PROPERTY AND COMPLY WITH
                DEBTOR'S DUTIES; FINALIZE NOTICE OF TRUSTEE'S
                MOTION; ELECTRONIC COURT FILINGS; ELECTRONIC
                NOTIFICATIONS; CALENDAR BAR DATES; FINALIZE
                SERVICE OF PROCESS.                                        70.00            0.20        14.00

08/21/2015
        JCS     REVIEW AND ANALYZE DEBTOR'S OBJECTION TO
                MOTION TO COMPEL TURNOVER                                 195.00            0.20        39.00

10/16/2015
        JCS     DRAFT EMAIL MEMORANDUM TO ATTORNEY NACH
                REGARDING STATUS OF CASE ISSUES                           195.00            0.20        39.00

11/19/2015
        JCS     REVIEW AND ANALYZE DEBTOR'S AMENDED 2014 TAX
                RETURN AND CALCULATE ESTATE'S PORTION OF
                INCOME TAX REFUND                                         195.00            0.40        78.00

12/11/2015
        JCS     REVIEW FILE AND UPDATE CASE STATUS REPORT                 195.00            0.20        39.00

12/15/2015
        JCS      ATTENTION TO NOTICE OF INTENT TO ABANDON
                 PROPERTY FILED BY TRUSTEE AND DRAFT EMAIL TO
                 ERIN REGARDING AMENDMENT TO 2014 TAX
         Case    RETURNS
                2:14-bk-01152-EPB   Doc 39-1 Filed 01/28/16               195.00 11:19:10
                                                                Entered 01/28/16        0.20 Desc       39.00
                                         Exhibit A   Page 5 of 7
                                                                                                               Page: 5
        DAVID BIRDSELL, TRUSTEE                                                                             01/28/2016
                                                                                       Account No:           2005-409
                                                                                     Statement No:              48797
        HARDISON, LINDSEY




                                                                             Rate           Hours

12/24/2015
        JCS       BEGIN DRAFTING AMENDED MOTION TO COMPEL
                  TURNOVER                                                  195.00            0.20              39.00

12/28/2015
        JCS       FINISH DRAFTING AMENDED MOTION TO COMPEL
                  TURNOVER OF 2014 TAX REFUNDS                              195.00            0.60             117.00
        PH        REVIEW/REVISE AMENDED MOTION TO COMPEL
                  TURNOVER (2014 TAX REFUNDS)                               260.00            0.20              52.00

12/29/2015
        JCS       REVIEW AND REVISE NOTICE OF TURNOVER MOTION
                  AND REVIEW AND SIGN MOTION TO COMPEL
                  TURNOVER                                                  195.00            0.20              39.00

01/11/2016
        JCS       EMAIL CORRESPONDENCE WITH DEBTOR ATTORNEY
                  REGARDING PAYMENT TO TRUSTEE PURSUANT TO
                  TURNOVER MOTION                                           195.00            0.20              39.00

01/25/2016
        JCS       REVIEW AND SIGN NOTICE OF WITHDRAWAL OF
                  AMENDED TURNOVER MOTION                                   195.00            0.20              39.00

01/28/2016
        DLA       FINALIZE TRUSTEE ATTORNEY FEE APPLICATION AND
                  RELATED DOCUMENTS.                                         70.00            1.00              70.00
        ABN       CASE CLOSING REVIEW; REVIEW TRUSTEE ATTORNEY
                  FEE APPLICATION                                           315.00            1.00             315.00
                  CASE ADMINISTRATION                                                       21.25             3,945.50

                  For Current Services Rendered                                             21.25             3,945.50

                                                   Recapitulation
    Timekeeper                                                      Hours         Rate                    Total
    ADAM B. NACH                                                     1.60      $315.00                  $504.00
    JONATHAN SIMON                                                   5.90       195.00                 1,150.50
    PAUL HILKERT                                                     7.50       225.00                 1,687.50
    PAUL HILKERT                                                     0.40       260.00                   104.00
    DANICA ACOSTA                                                    3.00        70.00                   210.00
    STEPHANIE M. ANDERSON                                            0.60        70.00                    42.00
    TERIE TURNER                                                     2.25       110.00                   247.50


                                                     Expenses

05/07/2014        POSTAGE @ $.48.5                                                                                0.96
05/07/2014        COPIES @ $.25 EACH                                                                              2.50
12/31/2014        COPIES @ $.25 EACH                                                                              3.50
08/17/2015        COPIES @ $.25 EACH                                                                              4.00
08/19/2015        POSTAGE @ $.70.5                                                                                0.70
             Case 2:14-bk-01152-EPB      Doc 39-1 Filed 01/28/16 Entered 01/28/16 11:19:10           Desc
                                              Exhibit A Page 6 of 7
                                                                                                         Page: 6
        DAVID BIRDSELL, TRUSTEE                                                                       01/28/2016
                                                                                 Account No:           2005-409
                                                                               Statement No:              48797
        HARDISON, LINDSEY




12/29/2015        POSTAGE @ $.70.5.                                                                         0.71
12/31/2015        COPIES @ $.25 EACH                                                                        4.50
01/26/2016        POSTAGE @ $.48.5.                                                                         0.49
                  Total Expenses                                                                          17.36

                  Total Current Work                                                                    3,962.86


                  Balance Due                                                                          $3,962.86




             Case 2:14-bk-01152-EPB    Doc 39-1 Filed 01/28/16 Entered 01/28/16 11:19:10       Desc
                                            Exhibit A Page 7 of 7
